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United States Bankruptcy Court
Southern District of Texas

Inre: Ignite Restaurant Group, Inc., et al. Case No.: 17-33550
Court ID (Court use only)

NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security,
of the claim referenced in this notice.

Bradford Capital Holdings, LP Kyle Jason McCarrell

Name of Transferee Name of Transferor

Name and Address where notices to transferee Court Record Address of Transferor
should be sent (Court Use Only)

Bradford Captial Holdings, LP

P.O. Box 4353

Clifton, NJ 07012

Attn: Brian Brager

Phone: (862) 249-1349

Email: bbrager@bradfordcapitalmgmt.com

Last Four Digits of Acct #: Last Four Digits of Acct. #:

Name and Address where transferee payments Name and Current Address of Transferor
should be sent (if different from above)
Kyle Jason McCarrell
1712 E. Riverside #300
Austin, TX 78741
Proof of Claim Number: 475
Proof of Claim Amount: $200,000.00

I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.

By: /s/ Brian Brager Date: 2/12/2019
Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

 

E ~~DEADLINE TO OBJECT TO TRANSFER~~

 

The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for
Security has been filed in the clerk’s office of this court as evidence of the transfer. Objections must be
filed with the court within twenty (20) days of the mailing of this notice. If no objection is timely received
by the court, the transferee will be substituted as the original claimant without further order of the court.

Date:

 

CLERK OF THE COURT
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EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Southern District of Texas, Houston Division

Attention: Clerk

AND TO: Ignite Restaurant Group, Inc. (“Debtor”)
Case No. 17-33550

Proof of Claim # 475
Schedule #:

Kyle Jason McCarrell, its successors and assigns (“‘Assignor”), for good and valuable consideration the receipt and
sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ 07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising under
or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code), in and to the
claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”) against the Debtor in
the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor and
the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be
imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code, applicable local bankruptcy
rules or applicable law. Assignor acknowledges, understands and agrees, and hereby stipulates that an order of the
Bankruptcy Court may be entered without further notice to Assignor transferring to Assignee the Claim and recognizing
the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other communications,
in respect of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized
representative dated this HM day of K#y 20 if

Kyle Jason McCarrell Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

Name: Brian Brager
Title: Managing Member

 
